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11   Attorneys for Plaintiff
     Avago Technologies General IP (Singapore) Pte. Ltd.
12

13                               UNITED STATES DISTRICT COURT

14                              NORTHERN DISTRICT OF CALIFORNIA

15                                  SAN FRANCISCO DIVISION

16
     AVAGO TECHNOLOGIES GENERAL IP                   CASE NO. 3:15-CV-05427-EMC
17   (SINGAPORE) PTE. LTD.,
                                                     PLAINTIFF’S NOTICE OF VOLUNTARY
18                 Plaintiff,                        DISMISSAL PURSUANT TO FED. R.
                                                     CIV. P. 41(a)(1)(A)(i)
19          v.

20   ACER INC. and ACER AMERICA CORP.,

21                 Defendants.

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     PLAINTIFFS’ NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO FED. R. CIV. P.
     41(a)(1)(A)(i) - CASE NO. 3:15-CV-05427-EMC
        Case 3:15-cv-05427-EMC Document 30 Filed 03/15/16 Page 2 of 2


 1           Pursuant to the Settlement and Patent License Agreement entered into by Plaintiff Avago
 2   Technologies General IP (Singapore) Pte. Ltd. (“Avago”) and Defendant Acer Inc. (“Acer”)
 3   effective January 1, 2016, Avago hereby dismisses this action with prejudice pursuant to Fed. R.
 4   Civ. P. 41(a)(1)(A)(i).
 5   DATED: March 11, 2016                               Respectfully submitted,
 6                                                       KILPATRICK TOWNSEND & STOCKTON LLP
 7

 8                                                       By: /s/ David E. Sipiora
                                                             David E. Sipiora
 9                                                           Kristopher L. Reed
                                                             Matthew C. Holohan
10                                                           Robert J. Artuz
11                                                                   Attorneys for Plaintiff
12                                                                   Avago Technologies General IP (Singapore) Pte. Ltd.
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18   IT IS SO ORDERED:
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20   U.S. District Judge IT IS SO OR
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     PLAINTIFFS’ NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO FED. R. CIV. P.
     41(a)(1)(A)(i) - CASE NO. 15-CV-04307-EMC                                                                      -1-
